Case 1:22-cv-00384-JSR Document 168-3 Filed 03/03/23 Page 1 of 6




                    Exhibit 3
                    Case 1:22-cv-00384-JSR Document 168-3 Filed 03/03/23 Page 2 of 6


       Generated on: This page was generated by TSDR on 2022-07-07 09:32:37 EDT
                 Mark:




  US Serial Number: 76700120                                                        Application Filing Oct. 29, 2009
                                                                                                Date:
     US Registration 3936105                                                       Registration Date: Mar. 29, 2011
           Number:
             Register: Principal
           Mark Type: Trademark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.



               Status: The registration has been renewed.
         Status Date: Jun. 09, 2021
Publication Date:Jan. 11, 2011

                                                                   Mark Information
          Mark Literal None
           Elements:
 Standard Character No
            Claim:
       Mark Drawing 2 - AN ILLUSTRATION DRAWING WITHOUT ANY WORDS(S)/ LETTER(S)/NUMBER(S)
              Type:
       Description of The mark consists of the configuration of a handbag, having rectangular sides a rectangular bottom, and a dimpled triangular profile.
               Mark: The top of the bag consists of a rectangular flap having three protruding lobes, between which are two keyhole-shaped openings that
                      surround the base of the handles. Over the flap is a horizontal rectangular strap having an opening to receive a padlock eye. A lock in
                      the shape of a padlock forms the clasp for the bag at the center of the strap. The broken lines in the drawing represent the location of
                      the handles and are not part of the mark.
   Color(s) Claimed: Color is not claimed as a feature of the mark.
            Acquired In whole
      Distinctiveness
                Claim:
       Design Search 14.11.08 - Padlocks; Locks, combination; Locks and key holes; padlocks; combination locks; Locks
            Code(s): 19.01.06 - Purses; Pocketbooks; Handbags

                                                      Related Properties Information
 Claimed Ownership 1806107, 2447392
              of US
      Registrations:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Handbags
         International 018 - Primary Class                                              U.S Class(es): 001, 002, 003, 022, 041
            Class(es):




                                                                                                                                                  HERMES_0007673
                                                                                                                                         Plaintiffs’ Exhibit 6.0001
                    Case 1:22-cv-00384-JSR Document 168-3 Filed 03/03/23 Page 3 of 6

          Class Status: ACTIVE
                Basis: 1(a)
             First Use: 1986                                            Use in Commerce: 1986

                                                 Basis Information (Case Level)
             Filed Use: Yes                                                Currently Use: Yes
             Filed ITU: No                                                  Currently ITU: No
             Filed 44D: No                                                  Currently 44E: No
             Filed 44E: No                                                 Currently 66A: No
             Filed 66A: No                                             Currently No Basis: No
      Filed No Basis: No

                                                 Current Owner(s) Information
          Owner Name: Hermes International
    Owner Address: 24 rue du Faubourg Saint-Honoré
                   Paris FRANCE 75008
   Legal Entity Type: société en commandite par actions (sca)            State or Country FRANCE
                                                                        Where Organized:

                                             Attorney/Correspondence Information
                                                                  Attorney of Record
     Attorney Name: Robert S. Weisbein                                    Docket Number: 093010-3143
    Attorney Primary IPDocketing@foley.com                                 Attorney Email Yes
     Email Address:                                                           Authorized:
                                                                    Correspondent
     Correspondent Robert S. Weisbein
     Name/Address: FOLEY & LARDNER LLP
                   90 Park Avenue
                   New York, NEW YORK UNITED STATES 10016
                Phone: 212.682.7474                                                    Fax: 212.687.2329
   Correspondent e- IPDocketing@foley.com                                Correspondent e- Yes
              mail:                                                       mail Authorized:
                                                                Domestic Representative
           Domestic Robert S. Weisbein                                              Phone: 212.682.7474
      Representative
             Name:
                  Fax: 212.687.2329
          Domestic IPDocketing@foley.com                                         Domestic Yes
   Representative e-                                                     Representative e-
               mail:                                                      mail Authorized:

                                                           Prosecution History
                                                                                                                     Proceeding
   Date              Description
                                                                                                                     Number
Feb. 18, 2022      NOTICE OF SUIT
Feb. 17, 2022      NOTICE OF SUIT
Feb. 17, 2022      NOTICE OF SUIT
Feb. 17, 2022      NOTICE OF SUIT
Feb. 17, 2022      NOTICE OF SUIT
Aug. 12, 2021      NOTICE OF SUIT
Aug. 12, 2021      NOTICE OF SUIT
Aug. 12, 2021      NOTICE OF SUIT
Jun. 09, 2021      NOTICE OF ACCEPTANCE OF SEC. 8 & 9 - E-MAILED
Jun. 09, 2021      REGISTERED AND RENEWED (FIRST RENEWAL - 10 YRS)                                                 76874




                                                                                                                HERMES_0007674
                                                                                                           Plaintiffs’ Exhibit 6.0002
                 Case 1:22-cv-00384-JSR Document 168-3 Filed 03/03/23 Page 4 of 6

Jun. 09, 2021   REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED                                            76874
Jun. 09, 2021   CASE ASSIGNED TO POST REGISTRATION PARALEGAL                                                   76874
Mar. 05, 2021   TEAS SECTION 8 & 9 RECEIVED
Sep. 30, 2020   NOTICE OF SUIT
Jun. 29, 2020   NOTICE OF SUIT
Mar. 29, 2020   COURTESY REMINDER - SEC. 8 (10-YR)/SEC. 9 E-MAILED
Jul. 12, 2016   NOTICE OF ACCEPTANCE OF SEC. 8 & 15 - E-MAILED
Jul. 12, 2016   REGISTERED - SEC. 8 (6-YR) ACCEPTED & SEC. 15 ACK.                                             76874
Jul. 12, 2016   CASE ASSIGNED TO POST REGISTRATION PARALEGAL                                                   76874
May 04, 2016    TEAS SECTION 8 & 15 RECEIVED
Sep. 24, 2014   NOTICE OF SUIT
Sep. 10, 2014   NOTICE OF SUIT
May 12, 2014    NOTICE OF SUIT
Mar. 29, 2011   REGISTERED-PRINCIPAL REGISTER
Jan. 11, 2011   PUBLISHED FOR OPPOSITION
Dec. 22, 2010   NOTICE OF PUBLICATION
Dec. 09, 2010   LAW OFFICE PUBLICATION REVIEW COMPLETED                                                        70633
Dec. 09, 2010   APPROVED FOR PUB - PRINCIPAL REGISTER
Nov. 16, 2010   TEAS/EMAIL CORRESPONDENCE ENTERED                                                              70633
Nov. 16, 2010   CORRESPONDENCE RECEIVED IN LAW OFFICE                                                          70633
Nov. 16, 2010   ASSIGNED TO LIE                                                                                70633
Nov. 01, 2010   TEAS RESPONSE TO OFFICE ACTION RECEIVED
Aug. 04, 2010   NON-FINAL ACTION MAILED
Aug. 04, 2010   NON-FINAL ACTION WRITTEN                                                                       85328
Jul. 13, 2010   TEAS/EMAIL CORRESPONDENCE ENTERED                                                              88889
Jul. 12, 2010   CORRESPONDENCE RECEIVED IN LAW OFFICE                                                          88889
Jul. 12, 2010   TEAS RESPONSE TO OFFICE ACTION RECEIVED
Jan. 12, 2010   NON-FINAL ACTION MAILED
Jan. 11, 2010   NON-FINAL ACTION WRITTEN                                                                       85328
Jan. 05, 2010   ASSIGNED TO EXAMINER                                                                           85328
Nov. 10, 2009   APPLICATION FILING RECEIPT MAILED
Nov. 04, 2009   NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM

                                        TM Staff and Location Information
                                                         TM Staff Information - None
                                                                 File Location
   Current Location: GENERIC WEB UPDATE                              Date in Location: Jun. 09, 2021




                                                                                                            HERMES_0007675
                                                                                                       Plaintiffs’ Exhibit 6.0003
      Case 1:22-cv-00384-JSR Document 168-3 Filed 03/03/23 Page 5 of 6




 gut                                      ed States of
                                             GAuited States Patent and Trademark Office                   Amey,lly

Reg. No. 3,936,105       HERMES INTERNATIONAL (FRANCE SOCIETE EN COMMANDITE PAR ACTIONS)
                         24 RUE DU FAUBOURG SAINT HONORD
Registered Mar. 29, 2011 F-75008 PARIS, FRANCE
Int. Cl.: 18                                                 FOR: HANDBAGS, IN CLASS 18 (U.S. CLS. 1, 2, 3, 22 AND 41).

                                                             FIRST USE 0-0-1986; IN COMMERCE 0-0-1986.
TRADEMARK
                                                             OWNER OF U.S. REG. NOS. 1,806,107 AND 2,447,392.
PRINCIPAL REGISTER
                                                             THE MARK CONSISTS OF THE CONFIGURATION OF A HANDBAG, HAVING RECTAN-
                                                             GULAR SIDES A RECTANGULAR BOTTOM, AND A DIMPLED TRIANGULAR PROFILE.
                                                                                                A
                                                             THE TOP OF THE BAG CONSISTS OF RECTANGULAR FLAP HAVING THREE PROTRUD-
                                                             ING LOBES, BETWEEN WHICH ARE TWO KEYHOLE-SHAPED OPENINGS THAT SUR-
                                                                                                                    A
                                                             ROUND THE BASE OF THE HANDLES. OVER THE FLAP IS HORIZONTAL RECTANGU-
                                                             LAR STRAP HAVING AN OPENING TO RECEIVE A PADLOCK EYE. A LOCK IN THE
                                                             SHAPE OF A PADLOCK FORMS THE CLASP FOR THE BAG AT THE CENTER OF THE
                                                             STRAP. THE BROKEN LINES IN THE DRAWING REPRESENT THE LOCATION OF THE
                                                             HANDLES AND ARE NOT PART OF THE MARK.

                                                             SEC. 2(F).

                                                             SER. NO. 76-700,120, FILED 10-29-2009.

                                                             LIEF MARTIN, EXAMINING ATTORNEY




Director of the United States Patent and Tre wemark Office




                                                                                                                               HERMES_0007961
                                                                                                                          Plaintiffs’ Exhibit 6.0004
Case 1:22-cv-00384-JSR Document 168-3 Filed 03/03/23 Page 6 of 6




                                                               HERMES_0007966
                                                          Plaintiffs’ Exhibit 6.0005
